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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

                 v.                                      Criminal No.    21-212

 ANDREA ZENMON

                             INFORMATION MEMORANDUM

       AND NOW comes the United States of America, by its attorneys, Stephen R. Kaufman,

Acting United States Attorney for the Western District of Pennsylvania, and Benjamin J. Risacher,

Assistant United States Attorney for said District, and submits this Information Memorandum to

the Court:

                                  I. THE INFORMATION

       A two-count Information was filed against the above-named defendant for alleged

violations of federal law:

 COUNT          OFFENSE/DATE                                   TITLE/SECTION

 1              Conspiracy to Commit Offense Against the       18 U.S.C. § 371
                United States

                From in and around June 2020 to in and
                around July 2020

 2              Conspiracy to Commit Offense Against the       18 U.S.C. § 371
                United States

                From in and around June 2020 to in and
                around July 2020
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                             II. ELEMENTS OF THE OFFENSES

               As to Counts 1 and 2:

               In order for the crime of Conspiracy to Commit Offense Against the United States,

in violation of 18 U.S.C. § 371, to be established, the government must prove all of the following

essential elements beyond a reasonable doubt:

               1.      That two or more persons agreed to commit an offense against the United

States, as charged in the Information;

               2.      That the defendant was a party to or member of that agreement;

               3.      That the defendant joined the agreement or conspiracy knowing of its

objective to commit an offense against the United States and intending to join together with at least

one other alleged conspirator to achieve that objective; that is, that defendant and at least one other

alleged conspirator shared a unity of purpose and the intent to achieve the objective to commit an

offense against the United States; and,

               4.      That at some time during the existence of the agreement or conspiracy, at

least one of its members performed an overt act in order to further the objectives of the agreement.

                       Third Circuit Model Criminal Jury Instruction 6.18.371A.

                                          III. PENALTIES

               As to Counts 1 and 2: Conspiracy to Commit Offense Against the United States

(18 U.S.C. § 371):

               1.      A term of imprisonment of not more than five (5) years (18 U.S.C. § 371);

               2.      A fine not more than the greater of: $250,000 or an alternative fine in an

amount not more than the greater of twice the gross pecuniary gain to any person or twice the

pecuniary loss to any person other than the defendant, unless the imposition of this alternative fine

would unduly complicate or prolong the sentencing process (18 U.S.C. §§ 3571(b)(3) and (d));

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                 3.      A term of supervised release of not more than three (3) years (18 U.S.C. §

3583);

                 4.      Any or all of the above.

                          IV. MANDATORY SPECIAL ASSESSMENT

         A mandatory special assessment of $100.00 must be imposed at each count upon which

the defendant is convicted, pursuant to 18 U.S.C. § 3013.

                                         V. RESTITUTION

         Restitution may be required in this case as to Count One, together with any authorized

penalty, as part of the defendant's sentence pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664.

                                         VI. FORFEITURE

         Forfeiture is not applicable in this case.


                                                          Respectfully submitted,

                                                          STEPHEN R. KAUFMAN
                                                          Acting United States Attorney


                                                          /s/ Benjamin J. Risacher
                                                          BENJAMIN J. RISACHER
                                                          Assistant U.S. Attorney
                                                          PA ID No. 318436




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